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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION


             MERQUIADES MARTINEZ,
                   Movant                                CRIMINAL CASE NO.
             v.                                          1:07-CR-257-01-JEC


             UNITED STATES OF AMERICA,                   CIVIL ACTION FILE NO.
                   Respondent.                           1:10-CV-1329-JEC



                                                ORDER

                  The above action is presently before the Court on the Magistrate

             Judge’s Final Report and Recommendation [915] recommending denying

             the above criminal defendant’s         Motion to Vacate Sentence [871].

                  The    defendant   filed     no    objections     to    the   Report   and

             Recommendation [915].         Nevertheless, the        Court sought further

             clarification    from   the    Government    as   to   the    basis   for   the

             calculations that gave rise to the mandatory-minimum sentence imposed

             upon the defendant at sentencing. The Government filed that response

             [941] and the defendant filed a reply [943] to the Government’s

             response.

                  Upon consideration of the Final Report and Recommendation [915],

             as well as the Government’s supplemental response and the defendant’s

             reply to that response, the Court adopts the magistrate judge’s

             Report and Recommendation and DENIES defendant’s Motion to Vacate




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             Sentence   [871].    It   is   further   Ordered   that   a   certificate   of

             appealability is DENIED.

                  SO ORDERED this 14th day of MARCH, 2013.


                                               /s/ Julie E. Carnes
                                               JULIE E. CARNES
                                               CHIEF U.S. DISTRICT JUDGE




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